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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                 8:15CR303
                     Plaintiff,                )
                                               )
       vs.                                     )                  ORDER
                                               )
DONALD HANDY,                                  )
                                               )
                     Defendant.                )
       This matter is before the court on the motion to continue by defendant Donald
Handy (Handy) (Filing No. 49). Handy seeks a continuance of the trial of this matter
scheduled for April 18, 2016. Handy has filed an affidavit whereby Handy consents to the
motion and acknowledges he understands the additional time may be excludable time for
the purposes of the Speedy Trial Act (Filing No. 50). Handy’s counsel represents that
government’s counsel has no objection to the motion. Upon consideration, the motion will
be granted.


       IT IS ORDERED:
       1.     Handy's motion to continue trial (Filing No. 49) is granted.
       2.     Trial of this matter is re-scheduled for May 23, 2016, before Senior Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between April
11, 2016, and May 23, 2016, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason that defendant’s counsel
requires additional time to adequately prepare the case. The failure to grant additional
time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 11th day of April, 2016.
                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken

                                                   United States Magistrate Judge
